          Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 1 of 6




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

HOMELAND INSURANCE COMPANY OF
NEW YORK,
       Plaintiff,
                                                            CIVIL ACTION NO.: 1-20-cv-783
v.
CLINICAL PATHOLOGY
LABORATORIES, INC., AND SONIC
HEALTHCARE USA, INC.,
       Defendants.


      OPPOSED MOTION TO CLARIFY THE REPORT AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE [DKT. 112]

TO:    THE HONORABLE SUSAN HIGHTOWER
       UNITED STATES MAGISTRATE JUDGE

       Defendants Clinical Pathology Laboratories, Inc. and Sonic Healthcare USA, Inc.

(collectively, “Defendants”) respectfully request that the Court clarify three discrete aspects of its

Report and Recommendation granting in part and denying in part Defendants’ summary judgment

motion (Dkt. 112, the “R&R”).         Specifically, Defendants seek clarification of the Court’s

recommendations regarding Homeland’s (1) prior knowledge defense, (2) misrepresentation

defense, and (3) second reformation claim. Id. at 20–21, 24–27.

       Defendants do not move to challenge or object to the R&R; Defendants seek to clarify a

few components and consequences of the R&R for the good of the case moving forward.

Defendants respectfully submit that clarifying these issues now will streamline the case and

conserve resources by ensuring that the parties understand the precise factual issues that will be

the subject of further discovery and that must be tried by a jury. Clarification will also ensure that

the parties do not waste the Court’s resources relitigating issues the Court already decided after

considering the parties’ extensive briefing and oral argument.
          Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 2 of 6




I.     Defendants Believe the Court Implicitly Held the “Inception Date” in the Prior
       Knowledge Exclusion is June 30, 2013.

       With respect to Homeland’s prior knowledge defense, Defendants’ summary judgment

motion first asked the Court to decide a pure legal question of contract interpretation: whether the

“Inception Date” in the 2017 Policy is June 30, 2013, or June 30, 2016, under the plain language

of the prior knowledge exclusion. See Dkt. 63 at 21–22; Dkt. 82 at 12. Defendants then asked the

Court to decide whether Homeland adequately pled the requisite knowledge prior to the

contractually relevant Inception Date. See Dkt. 63 at 21–22; Dkt. 82 at 12–13. The R&R clearly

decides the second question; Defendants seek clarity as to Court’s holding on the first.

       The R&R provides that Defendants are not entitled to summary judgment on Homeland’s

prior knowledge defense because “CPL could have been aware of potential ICC claims as early as

June 2013.” Dkt. 112 at 25. Defendants interpret this holding to mean that the Court determined

the “Inception Date” is June 30, 2013, which is when Homeland first began to issue Defendants

professional medical liability insurance. Id. at 3. Defendants respectfully seek clarification as to

whether their understanding is correct, as that would definitively resolve a question of law that has

been fully briefed and argued, and would narrow the scope of this case by focusing the parties and

the Court on what Defendants allegedly knew before June 30, 2013.

II.    Clarification That Homeland’s Misrepresentation in the Letter Defense Fails for
       Lack of Incorporation Would Harmonize the Court’s Holding With its Reasoning.

       Defendants moved for summary judgment on Homeland’s multi-faceted misrepresentation

defense. By this defense, Homeland asserts Defendants made misrepresentations (1) during the

claim, and (2) in the 2016 Letter. See Dkt. 73 at 23–24. Defendants moved for summary judgment

on this defense because the 2016 Letter was not incorporated into the 2017 Policy and because

Homeland did not comply with a Texas notice statute. See Dkt. 63 at 23; Dkt. 82 at 14.




                                                 2
          Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 3 of 6




        On the lack of incorporation argument, the Court held that because Homeland’s “defense

is not limited to misrepresentations in the 2016 Letter” but extends to “misrepresentations during

the claim,” it could not dismiss Homeland’s entire misrepresentation defense for lack of

incorporation. Dkt. 112 at 25. Defendants interpret this to mean that, although Homeland’s

misrepresentation during the claim defense does not fail for lack of incorporation of the

2016 Letter, its misrepresentation in the 2016 Letter defense fails for lack of incorporation.

Defendants respectfully seek clarification as to whether their understanding, which appears to be

a natural consequence of the Court’s ruling, is correct. Defendants’ requested clarification would

also narrow the scope of this case by focusing the parties and the Court on the merits of

Homeland’s misrepresentation “during the claim” defense.

III.    Clarification That Homeland Has Not Adequately Alleged or Shown a Mutual Intent
        to Reform the 2017 Policy Would Harmonize the Court’s Ruling with the Evidence it
        Cites in Support.

        Defendants moved for summary judgment on Homeland’s second reformation claim

because: (1) Homeland has no plausible allegations or evidence supporting a mutual intent to

incorporate the 2016 Letter into the 2016 Policy, and (2) Homeland has no allegations or

evidence—plausible or otherwise—supporting a mutual intent to incorporate the 2016 Letter into

the 2017 Policy. See Dkt. 63 at 11–15; Dkt. 82 at 6–7. Since the 2017 Policy is the operative

contract in this case, Defendants argued that failure of proof necessitated the dismissal of

Homeland’s second reformation claim. See Dkt. 63 at 14–15; Dkt. 82 at 7. The R&R definitively

resolves the first aspect of Defendants’ argument, but not the second.

        The Court held Defendants are not entitled to summary judgment because the 2016 Letter

provides that it “will be deemed to be a part of the policy,” and therefore the letter itself is plausible

evidence of a mutual intent to incorporate. Dkt. 112 at 21. Defendants seek clarification as to how

far that ruling extends. The 2016 Letter refers only to “the policy”—i.e., the 2016 Policy—and


                                                    3
          Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 4 of 6




therefore is not evidence of the parties’ mutual intent regarding the 2017 Policy. Id. at 4. The

R&R doesn’t say anything to the contrary, and therefore Defendants believe the R&R supports

Homeland’s claim to reform the 2016 Policy with the 2016 Letter, but not the 2017 Policy.

Defendants seek clarification as to whether their understanding is correct.

                                          CONCLUSION

       In sum, Defendants respectfully request that the Court clarify that: (1) the “Inception Date”

under the prior knowledge exclusion is June 30, 2013; (2) although Homeland’s misrepresentation

“during the claim” defense does not fail for lack of incorporation of the 2016 Letter, its

misrepresentation in the 2016 Letter defense fails for that reason; and (3) although the 2016 Letter

may support a claim to reform the 2016 Policy, it does not support Homeland’s claim to reform

the 2017 Policy. Defendants submit that the clarification they request would harmonize the R&R

with the Court’s reasoning and would further streamline this case and conserve resources by

ensuring that the record reflects the precise factual issues that must be tried by a jury.

                                          *       *       *




                                                  4
         Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 5 of 6




Dated: July 27, 2022


                                           Respectfully submitted,


                                           By: /s/ Ernest Martin, Jr.
                                              Ernest Martin, Jr. [Bar No. 13063300]
                                              Greg Van Houten*
                                              HAYNES AND BOONE, LLP
                                              2323 Victory Avenue, Suite 700
                                              Dallas, TX 75219
                                              214-651-5651 Direct
                                              214-651-5000 Main
                                              214-200-0519 Fax
                                              ernest.martin@haynesboone.com
                                              greg.vanhouten@haynesboone.com
                                              *Admitted Pro Hac Vice

                                              -and-

                                              Mark T. Beaman [Bar No. 01955700]
                                              Ryan Bueche [Bar. No. 24064970]
                                              GERMER BEAMAN & BROWN PLLC
                                              One Barton Skyway
                                              1501 S Mopac Expy Suite A400
                                              Austin, TX 78746
                                              512-482-3504 Direct
                                              512-472-0288 Main
                                              512-472-0721 Fax
                                              mbeaman@germer-austin.com
                                              rbueche@germer-austin.com

                                              ATTORNEYS FOR DEFENDANTS




                                       5
          Case 1:20-cv-00783-RP Document 119 Filed 07/27/22 Page 6 of 6




                              CERTIFICATE OF CONFERENCE

         This is to certify that I conferred via telephone with counsel for Plaintiff regarding the
instant motion before its filing, and counsel for Plaintiff indicated that Plaintiff was opposed to the
relief sought.

                                                           /s/ Greg Van Houten
                                                               Greg Van Houten

                                 CERTIFICATE OF SERVICE

        I hereby certify that, consistent with Local Court Rule CV-5, a true and correct copy of
the foregoing was sent to all parties of record via ECF on this 27th day of July 2022.

                                                           /s/ Ernest Martin, Jr.
                                                               Ernest Martin, Jr.




                                                  6
